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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term
                              Grand Jury Sworn in on May 712019

UNITED STATES OF AMERICA                             SEALED INDICTMENT

                                                     Criminal No.

                  v.                                 Count One: 18 U.S.C. S 1956(h)
                                                     (Conspiracy To Launder
                                                     Monetary Instruments)
LARRY DEAN HARMON,
                                                     Count Two: 18 U.S.C. $ 1960(a)
                                                     (Operating an Unlicensed Money
                                                     Transmitting Business)

                                                     Count Three: D.C. Code $ 26-1023(c)
                                                     (Money Transmission Without a
                                                     License)

                                                     Forfeiture: 18 U.S.C. $ 982(a)(1);
                                                     21 U.S.C. $ 8s3(p)

                                            INDICTⅣ I ENT

The Grand Jury Charges:

                                        INTRODUCTION

At all times material to this indictment:

          1.      Defendant LARRY DEAN HARMON ("HARMON") was a resident of Ohio and

Belize.

          2.      Starting in or about April 2014, HARMON owned and operated a Darknet search

engine called Grams. The Darknet refers to a collection of hidden websites available through a

network of globally distributed relay computers called the Tor network. They are hidden websites

because, unlike standard Intemet websites, on the Tor network there is no publicly available   listing

of the Internet Protocol (IP) addresses of servers hosting websites on the Tor network. The Darknet
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includes a number of hidden websites that sell illegal goods, like guns and drugs, and services, like

hacking and money laundering. In or about July 2014, HARMON posted online that he believed

the Darknet primarily sold drugs and illegal items.

       3.        Starting   in or about July 2014, HARMON          owned and operated       a   money

transmitting and money laundering business called       Helix. Helix   was a service linked to and

affiliated with Grams, HARMON's Darknet search engine, and the two services were sometimes

referred   to collectively as Grams-Helix. Helix offered an Internet-based service that           was

accessible in the District of Columbia and other States.

       4.        Helix enabled customers, for a fee, to send bitcoins to designated recipients in    a

manner which was designed to conceal and obfuscate the source or owner of the bitcoins. This

type of service is commonly referred to as a bitcoin "mixer" or "tumbler."

       5.        Helix was advertised to customers on the Darknet as a way to conceal transactions

from law enforcement. In or about Jvne 2014, shortly before launching Helix, HARMON posted

online that Helix was designed to be a "bitcoin tumbler" that "cleans" bitcoins by providing

customers with new bitcoins "which have never been to the darknet before." In or about August

2014, HARMON posted online that "Helix uses new addresses for each transaction so there is no

way LE would able [sic] to tell which addresses are helix addresses," referring to law enforcement

by the acronym     LE. In or about March   2015, HARMON posted online:        'No   one has ever been

arrested   just through bitcoin taint, but it is possible and do you want to be the first? . . . Most

markets use 'Hot Wallets', they put all their fees in these wallets. LE just needs to check the taints

on these wallets to find all the addresses a market uses."

       6.        From at least in or about November 2016, Helix partnered with the Darknet market

AlphaBay to provide bitcoin money laundering services for AlphaBay customers. AlphaBay was



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a Darknet market in operation from in or about December 2014 through in or about July 2017,

when the site was seized by law enforcement. At the time of the seizure, AlphaBay was the largest

Darknet marketplace in operation, offering a platform for customers to purchase a variety of illegal

drugs, guns, and other illegal goods.      In or   about November 2016, the AlphaBay website

recommended to its customers that they use a bitcoin tumbler service to "erase any trace of [their]

coins coming from AlphaBay," and provided an embedded link to the Tor website for Grams-

Helix. At all relevant times, including in or about November 2016, both AlphaBay and Grams-

Helix were accessible via computers in the District of Columbia and elsewhere, and were accessed

in the District of Columbia.

       7.      On or about November 8,2016, a Federal Bureau of Investigation (FBI) employee

acting in an undercover capacity from a location in the District of Columbia transferred 0.16

bitcoin from an AlphaBay bitcoin wallet to Helix. Helix then exchanged the bitcoin for           y
equivalent amount of bitcoin, less a 2.5 percent fee, which was not directly traceable to AlphaBay.

       8.      In total, Helix exchanged at least approximately 354,468 bitcoins-the equivalent

of approximately $311 million in U.S. dollars at the time of the transactions----on behalf of its

customers, including customers in the District of Columbia. The largest volume of funds sent to

Helix came from Darknet markets selling illegal goods and services, including AlphaBay, Agora

Market, Nucleus, and Dream Market, and other Darknet markets.

       9.      HARMON began to shut down operations for Grams and Helix in or about

December 2017.

        10.    In most states or jurisdictions, operating a money transmitting business without    a


license was punishable as a misdemeanor or a       felony. The failure to obtain a license in   such

jurisdictions was a federal offense. Under District       of   Columbia law, money transmitting



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businesses had to obtain a license from the Superintendent of the Office of Banking and Financial

Institutions of the District of Columbia, and the failure to do so was a felony.

            1   1.   Federal law also required money transmitting businesses to be registered with the

Financial Crimes EnforcementNetwork ("FinCEN"), which is located inthe District of Columbia.

The failure to register with FinCEN was a federal felony offense.

            12.      Federal law barred money transmitting businesses from transmitting funds that

were known to be derived from a criminal offense or intended to be used to promote unlawful

activity.

            13.      At all relevant times, Helix was not licensed by the District of Columbia, nor was

it registered with FinCEN.

                                                COUNT ONE
                             (Conspiracy To Launder Monetary Instruments)

            14.      The allegations set forth in paragraphs   1   through 13 of this Indictment are re-alleged

and incorporated by reference herein.

            15.      From in or about July 2014 until in or about December 2017, in the District of

Columbia, Belize, and elsewhere, HARMON did knowingly and willfully combine, conspire,

confederate and agree with other persons, including the administrator of AlphaBay and other

persons known and unknown to the grand           jury, to violate:

                     a.     Title 18, United States Code, Section 1956(a)(1)(AXi), by conducting and

                            attempting to conduct financial transactions affecting interstate commerce,

                            that is, the sending and receiving of bitcoin transactions, which involved the

                            proceeds   of specified unlawful activity, that is, the felonious manufacture,

                            importation, receiving, concealment, buying, selling, and otherwise dealing

                            in a controlled   substance, knowing that the property involved           in   these
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                        financial transactions represented the proceeds of some form of unlawful

                        activity, with the intent to promote the carrying on of specified unlawful

                        activity, that is, the felonious manufacture, importation, receiving,

                        concealment, buying, selling, and otherwise dealing          in a controlled
                        substance; and

                b.      Title 18, United States Code, Section 1956(a)(1)(B)(i), by conducting and

                        attempting to conduct financial transactions affecting interstate corlmerce,

                        that is, the sending and receiving of bitcoin transactions, which involved the

                        proceeds   of specihed unlawful activity, that is, the felonious manufacture,

                        importation, receiving, concealment, buying, selling, and otherwise dealing

                        in a controlled   substance, knowing that the property involved       in   these

                        financial transactions represented the proceeds of some form of unlawful

                        activity, and knowing that the transactions were designed in whole and in

                        part to conceal and disguise the nature, the location, the source, the

                        ownership, and the control of the proceeds of specified unlawful activity;

all in violation of Title 18, United States Code, Section 1956(h).

        16. It was the goal of the conspiracy for the defendant, HARMON, and other co-
conspirators to unlawfully enrich themselves by operating a bitcoin money laundering service

which would conceal and promote illegal Darknet drug sales and other illegal activity.

                (Conspiracy To Launder Monetary Instruments, in violation of
                        Title 18, United States Code, Section 1956(h))

                                         COUNT TWO
                     (Operating an Unlicensed Money Transmitting Business)

       17   -   The allegations set forth in paragraphs I through 13 of this Indictment are re-alleged

and incorporated by reference herein.
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        18.     From in or about July 2014 until in or about December 2017, HARMON knowingly

conducted, controlled, managed, supervised, directed, and owned an unlicensed money

transmitting business, that is, Helix,   as that   term is defined in Title 18, United States Code, Section

1960(bX1), affecting interstate or foreign commerce, and which:

                a.      Operated without an appropriate money transmitting license in the District

                        of Columbia, where such operation is punishable as a felony under District

                        of Columbia law, whether or not the defendant knew that the operation was

                        required to be licensed or that the operation was so punishable;

                b.      Failed   to comply with the money transmitting business                  registration

                        requirements under Title 31, United States Code, Section 5330, and the

                        regulations prescribed thereunder; and

                c.      Otherwise involved the transportation and transmission of funds known to

                        HARMON to have been derived from             a   criminal offense and intended to be

                        used to promote and support unlawful activity;

in violation of Title 18, United States Code, Section 1960(a).

          (Operating an Unlicensed Money Transmitting Business, in violation of Title 18,
                               United States Code, Section 1960(a))

                                      COUNT THREE
                            (Money Transmission Without a License)

        19.     The allegations set forth in paragraphs      I through l3 of this Indictment   are re-alleged

and incorporated by reference herein.

       20.      From in or about July 2014 until in or about December 2017, HARMON did,

without obtaining a license issued by the Superintendent of the Office of Banking and Financial

Institutions ofthe District of Columbia, engage in the business of money transmission,           as that   term

is defined in D.C. Code $ 26-1001(10), through the operation of Helix, in that he engaged in the
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business of receiving money for transmission, and transmitting money, within the United States

and to locations abroad.

  (Ⅳ IOney     Transllllission Without a License,in violation of§     26‑1023(c)ofthe DoC.Code)


                                     FORFEITURE ALLEGATION

          1.       Upon conviction of the offenses alleged in Counts One and Two, the defendant

shall forfeit to the United States any property, real or personal, involved in the offense, and any

property traceable thereto, pursuant to Title 18, United States Code, Section 982(a)(1). The United

States   will also seek a forfeiture money judgment for a sum of money equal to the value of any

property, real or personal, involved in Counts One and Two, and any property traceable thereto.

         2.        The United States will also seek forfeiture of the following specific property upon

conviction of an offense alleged in Counts One and Two:

                   a.      The real property located at 3853 Yellow Creek Dr, Akron, Ohio, more
                           particularly described as Sublot 74 in the Sanctuary of Bath Subdivision
                           Phase II, as recorded in Plat Cabinet B, Slides 566-573 of Summit County,
                           Ohio records;

                  b.       The real property located at 6304 N Ensenada Crt, Aurora Colorado, more
                           particularly described as Lot 8, Block 5, High Point at Dia Subdivision
                           Filing No 1, Recorded December 15, 2005 as Reception No.
                           2005L215001372670 and Affidavits of Correction Recorded January 22,
                           2007 at Reception No 2007000007845 and August 11,2006 at Reception
                           No 20060817000834180, County of Adams, State of Colorado; and

                  c.       The real property located at 351 N Messner Rd, Akron, Ohio, more
                           particularly described as all of Lot Number 91 and East Yz of lot 92 front
                           and rear in the Nimisila Heights Second Addition as recorded in Plat Book
                           43,Page25 of Summit County Records.
         a
         J.       If   any of the property described above, as a result of any act or omission of the

defendant:

                  d.       cannot be located upon the exercise of due diligence;

                  e.       has been transferred or sold to, or deposited   with,   a   third party;
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               f.      has been placed beyond   thejurisdiction ofthe court;

               g.      has been substantially diminished in value; or

               h.      has been commingled    with other property which cannot be divided without
                       difficulty,

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p).

     (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 982(a)(1);
                     and Title 21, United States Code, Section 853(p))



                                                      A TRUE BILL:



                                                      FOREPERSON.




              OF THE UNITED STATESIN
           THE DISTRICT OF COLUⅣ IBIA
